Case 3:14-cv-00139-DJH Document 121 Filed 02/18/20 Page 1 of 3 PageID #: 1397




                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                   AT LOUISVILLE


 IN RE: AMAZON.COM, INC.,                     Master File No. 3:14-md-02504-DJH
 FULFILLMENT CENTER FAIR                      MDL Docket No. 2504
 LABOR STANDARDS ACT (FLSA)
 AND WAGE AND HOUR
 LITIGATION,

 THIS DOCUMENT RELATES TO:                    Case No. 3:14-cv-00139-DJH

 Jesse Busk, et al. vs. Integrity Staffing
 Solutions, Inc., et. al., Case No. 14-cv-
 00139-DJH

                        JOINT REPORT REGARDING MEDIATION
       Pursuant to this Court’s Order (Dkt# 120), Plaintiffs JESSE BUSK, ET AL. (“Plaintiffs”),
and Defendants INTEGRITY STAFFING SOLUTIONS, INC. ET AL. (“Defendants”), by and
through their respective counsel, hereby notify the Court that the Parties have scheduled a
mediation in an attempt to resolve this action for April 17, 2020, in Seattle, Washington with
Mediator Carolyn Cairns. The Parties will file a joint report advising the Court of the result of
the mediation within seven (7) days of the mediation’s conclusion.



DATED: February 18, 2020                            Respectfully Submitted,

                                                    THIERMAN BUCK LLP

                                                    /s/ Joshua D. Buck
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                                          1
                          JOINT REPORT REGARDING MEDIATION
Case 3:14-cv-00139-DJH Document 121 Filed 02/18/20 Page 2 of 3 PageID #: 1398




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                                   2
                   JOINT REPORT REGARDING MEDIATION
Case 3:14-cv-00139-DJH Document 121 Filed 02/18/20 Page 3 of 3 PageID #: 1399




                               CERTIFICATE OF SERVICE
       I hereby certify that a copy of the foregoing was filed this 18th of February, 2020 and
served on the parties via the Court’s ECF system.

                                     /s/Joshua D. Buck
                                     Attorney for Plaintiffs




                                        3
                        JOINT REPORT REGARDING MEDIATION
